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                                           April 7, 2021



Via ECF

The Honorable Alvin K. Hellerstein
United States District Court
Southern District of New York
40 Foley Square, Room 1050
New York, NY 10007

       Re:      In re GreenSky Securities Litigation, 18 Civ. 11071 (AKH)

Dear Judge Hellerstein:

      We are Co-Lead Counsel for Lead Plaintiffs Northeast Carpenters Annuity Fund, El Paso
Firemen & Policemen’s Pension Fund, and the Employees’ Retirement System of the City of Baton
Rouge and Parish of East Baton Rouge in the above-referenced action.

        We write on behalf of both Lead Plaintiffs and Defendants to inform the Court that the
parties have reached an agreement in principle to settle the above-referenced action, subject to full
documentation in a Stipulation of Settlement. The parties will work in good faith to agree upon
and execute the Stipulation of Settlement within approximately thirty (30) days of today, and file
it within three (3) days thereafter, together with Lead Plaintiffs’ motion for preliminary approval
of the Settlement.

       The parties also write to seek a stay of all deadlines in the case pending effectuation of the
Settlement. The parties currently have a status conference scheduled for April 29, 2021 at 2:30
p.m. (Dkt. No. 172), by which conference the parties were to have substantially completed
depositions in the case. The parties are amenable to cancelling this conference or scheduling it on
another date to discuss matters related to settlement, as your Honor prefers.
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       Should the Court have questions or concerns, we are available to address them at the
Court’s convenience.

                                          Respectfully submitted,

                                          /s/ Steven J. Toll

                                          Steven J. Toll

cc: All counsel of record (via email)
